

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,352






EX PARTE FRANKIE RENDON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM LUBBOCK COUNTY






	Johnson, J., filed a dissenting opinion.



D I S S E N T I N G   O P I N I O N



	The difficulty in this case arose because this Court's prescribed form for an application for
a writ of habeas corpus did not require what is now held to be required.  Today we change the rules,
yet hold an applicant, who properly filed his application on the old form, to the new rules.   On a
basis of which he had no knowledge, we now dismiss his petition and tell him to refile.  This strikes
me as unjust.  This Court's form created the problem, and this Court should not use that court-created problem to place a new burden on this applicant and other applicants who, as of the date of
the issuance of the Court's opinion, had properly filed applications on the old form.  I would
consider the merits of this application, and all others that were properly filed as of this date, and
publish an opinion that would resolve the merits of this application and set out the new rules and writ
application form as the standard for applications not yet filed.  Because the Court does not do so, I
respectfully dissent.


Filed: November 17, 2010

Publish


